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STATE OF NIlCHEGAN

lN THE ClRCUlT COURT FOR THE COUNTY OF GENESEE

JENNlFER LAKE, as Persona|
Representative of the Estate of
BENJAM|N PELCH, JR., Deceased,

 

 

 

 

Plaintif'f,
v. Case No. 08-89404-NM
Hon.
HEARTLAND ~ BREARWOOD Nll, LLC
dib/a HEARTLAND HEALTH CARE
CENTER - BR[ARWOOD, and as
Successor Corporation to HEARTLAND
HEALTH cARE cENTER - saiARWooo, §…§ §@§
and/or EAST MlCl-HGAN CARE CORPORAT|ON § §
and/or MANOR cARE, iNc., - §5=§ @§§° §§§lre; §
Defendants.
SCO'l`l' L. FEUER (P38185) M|CHAEL J. KELLY (P4‘l358)
FEUER & KOZERSK|, PC Co-Counse| for Plaintiff
Attorney for Plaintiff 717 S. Grand Traverse St.
251 Merri|l St_, Ste. 203 Flint, lVll 48502
Birmingharn, lVll 48009 (810) 235-4100

{243) 723-7323, E><t. 201

 

FlRST AMENDED CON|PLA|NT AND AFFIDAVIT OF MERIT

There is no other civil action between these parties
arising out of the same transaction or occurrence as
alleged in this complaint pending in this Court. nor has any
such action been previously filed and dismissed or
transferred after having been assigned to a judge in this Court.

 

NOW COMES the Plaintiff, JENN|FER l_AKE, personal representative of the Estate of
BENJAM|N F’El_C;l-l1 JR., and hereby complains againstdefendants, l-|EARTLAND - BR|ARWOOD
l\r'lll LLC d/b/a HEARTLAND HEALTH CARE CENTER - BR|ARWOOD, and as Successor
Corporation to HEARTLAND l-lEALTH CARE CENTER - BRIARWOOD, andfor EAST l\)lflCHlGAN

CARE CORPORATlON and/or MANOR CARE, lNC., as follows:

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JUR|SDICT|ON AND VENUE

t. That plaintiff Personal Representative Jennifer Lake is a resident of the city of
Linden, County of Genesee, State of Nl'lchigan.

2. The defendants HEARTLAND - BREARWOOD |Vl|. LLC dib/a HEARTLAND
HEA|_TH CARE CENTER - BR|ARVVOOD, and as Successor Corporation to HEARTLAND
l-lEALTH CARE CENTER - BR!ARWOOD, and/or EAST MlCH|GAN CARE CCRPORAT|ON and/or
MANOR CARE, lNC are corporations doing business in the County of Genesee, State of Michigan_

3. This cause of action arises out of the care and treatment of the decedent,
BENJAMIN PELCl-l, JR., at Heartland Health Care Center - Briarwood, Which resulted in his death
on tvlay 21, 2006.

4. The amount in controversy in this case exceeds $25,000.00, exclusive of costs,
interest and attorney fees.

COUNT l

5. Plaintiff hereby incorporates each and every allegation contained in paragraphs ‘l
through 4, above, as though fully set forth herein.

6. BENJAN||N PELCl-l, .JR., was admitted to the Heartland Heaith Care Center -
Brianmood (hereinafter referred to as “HH¢C") on l\/lay 5, 2006l after a hospitalization for a C\/A
and/or TlA on |Vtay 1, 2006.

7. Mr. Pelch Was at an extremely high risk for fails given his history ot CVA and/or TIA,

` a`total`kn`ee replacement, a total hip reptacerrient as Well as his Atzhetmer’s Dise`ase.

8. On May 10, 2006, Nlr. Pelch was left alone and unmonitored in a Wheelchair in the
dining room during lunch.

9. _As a result of the negligence of the defendant and its empioyees, Ivlr. Pelch fell out

ot his wheelchair and struck his face and head. He was non-responsive for at least three minutes

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before a nurse arrived. n

10. lVlr. Peich Was taken to ivicLaren l-lospital where he was diagnosed with a right
subdural hematoma as Well as a nasal fracture

tt. After suffering for eleven (11) days, he died on |Vlay 21, 2006, as a result of the
subdural hematoma.

12. Despite the fact that iv'ir. Peich Was at an obviously high risk for tall, the nurses and
personnel at i-lHCC failed to assess |'vir. Pelch’s risk forfali. No assessment was done with respect
to his fali risk from a chair. No minimum data set (MDS) was done prior to his fall. No p!ari to
safeguard |Vlr. Peich was prepared prior to his fatal fall.

13. At all times relevant hereto, the health care and nursing staff at l-lHCC Were
apparent, ostensib|e, implied and/or express agents of andfor were employed by defendant HHCC
and Were acting in the course and scope of their employment and!or agency, when the acts of
malpractice and/or negligence hereinafter set forth and described were committed, thereby
imposing vicarious liability upon defendants by reason of the doctrine of respondeat superior.

i4. At all times relevant heretol defendants agreed to provide Nlr. Pelch with the
necessary and proper medical care and held themselves out to the pubiic, and in particular, to
BENJAM|N PELCH, JR., as a skilled and competent nursing facility capable`of properly and
skii|fuily ensuring the safety of and treating individuals seeking their services, such as Nlr. Peich.

15. At all times relevant hereto, the defendants' health care and nursing personnel owed
the plaintiff's decedent, BENJAMIN PELCH, JR., the duty to provide him with supervision, care and
treatment in accordance with the standard of care applicable to nurses and health care workersl

The applicabie standard of care owed to the plaintiffs decedent, BENJAMIN PELCl-l, JR., included,

but was not limited to the following:

a. The standard of care required that a full safety assessment be done upon
admission;

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16.

`l'he standard of care required an assessment of the fall risk posed by lVlr. Peich at
the time of admission;

The standard of care required that the nursing personnel conduct a safety
assessment and prepare a minimum data set {iVlDS) upon admission;

The standard of care required that the nursing and medical personnel formulate a
plan to care for and to delineate the measures that Would be taken for iVlr. Pelch’s
safety; and

HHCC is vicariously liable for the failure of any agent or employee to act in
accordance with the above requirements to conform with the standard of care for
the acts of its agents and employees

Notwithstanding these duties, the defendants breached the standard of care in the

foliowing particulars;

a.

B.

19.

The nursing personnel and/or medical personnel breached the standard of care
when they faiied to properly perform a full safety assessment at the time of l\/lr.
Pelch’s admission;

The nursing personnel and/or medical personnel breached the standard of care by
failing to perform an assessment of Nlr. Pelch’s risk for fail at the time of admission;

The nursing personnel and/or medical personnel breached the standard of care by
faiiing to conduct a safety assessment and by failing to prepare a minimum data set
(NlDS) on lVlr. Pelch on admission;

The nursing personnel and/or medical personnel breached the standard of care by
failing to formulate a plan to care for and to delineate the measures that would be
taken for lVlr. Pelch’s safety; and

Hl-iCC breached the standard of care since HHCC is vicariously liable

in order to achieve compliance With the standard of care, the defendants should

have performed the following:

3.

The nursing personnel/medical personnel caring for- lVir. Pelch should have
performed a full safety assessment upon admission;

The nursing personne|imedical personnel shouid have assessed lV|r. Pelch for his
risk of falls upon admission;

The nursing personnel/medical personnel should have conducted a safety
assessment and prepared a minimum data set (NlDS) upon admission;

The nursing personnel/medical personnel shouid have formulated a plan in order

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to assess the risk of fails and to care for and delineate the measures that would be
taken to provide for lVlr. Pelch’s safety; and

e. HHCC should have ensured that its agents and employees conformed to the
standard of care noted above and is vicariously liable for its agents’ or employees'
failure to act in accordance with the standard of care.

20. These breaches of the standard of care proximately caused lvlr. Pelch’s injury and

ultimate death as follows‘.

a. Had a full safety assessment been performed on Nlr. Pelch upon admission, a plan
of care could have been implemented that would have ensured his safety and
prevented his fall and his resultant damages and death;

y b. Had the nursing personnel/medical personnel identified ivir. Pelch as a risk forfatls,
l Nir_ Pe|ch would have been monitored in which case he would not have suffered the
l fall and his resultant damages and death;

c. Had the nursing personnelfmedical personnel assessed lVlr. Pelch for risk of falls
and prepared a minimum data set (MDS), it Would have been noted that lvlr. Pelch

should have been monitored, and, if he was monitored1 he would not have fallen
and he would not have suffered the damages and death noted;

d. Had the nursing personnel/medical personnel formulated a plan to assess the risks
of falls and formulated a safety assessment for |Vir. Pelch and to care for and
delineate the measures that would be taken to provide for lvir. Pelch‘s safety, he
would not have fallen and sustained damages and death; and

e. Had HHCC ensured that its agents and employees conformed to the standard of
care noted above, l\/lr. Peich would not have falien and suffered the injuries and
resultant death.

21. As a direct and proximate result of the aforementioned acts of negligence and/or

malpractice plaintiff’s decedent, BENJANHN PELCl-l, JR., died on Niay 21, 2006

22. The decedent’s estate is entitled to recover those damages available under the

lVlichigan Wrongful Death statute, lVlCL 600.2922, which include, but are not limited to the following;

a. Reasonable compensation for the pain and suffering endured by BENJAMlN
PEi_Ci~l, JR., during the period of time between his fall on lVlay 10, 2006, and his
ultimate death on iVlay 21, 2006;

b. Necessary and reasonable medical expenses;

c. Necessary and reasonable funeral and burial expenses; end

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d.r The loss to the decedent’s survivors of his love, companionship, counsel and
society.

WHEREFORE, plaintiff, Jennifer Lake, as Personal Representative of the Estate of
Benjamin Pelch, Jr., claims judgment against the defendantsl HEARTLAND - BREARWOOD Nl|,
LLC dib/a HEARTLAND l-lEALTi-l CARE CENTER - BRIARWOOD, and as Successor Corporation
to HEARTLAND HEALTH CARE CENTER - BR|ARWOOD, and/or EAST |VllCHiGAN CARE
CORPORAT|ON and/or MANOR CARE, INC, for whatever amount plaintiff is found to be entitled,

as determined by the trier of fact, together with interest, costs and attorney fees

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SCOTT L_ FEUER (P38185)
Attorney for Defendant
251 !Vlerrili St., Ste. 203
Birmingham, Mi 48009
(248) 723-7828

 

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Co-Couns rPlaintiff
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Date: August LL(’ , 2008

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AFFIDAVIT OF MERIT

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cotter oi= wAsHTENAw )

i, Sharon VanRiper, M.S., R.N. C,C.R.N., being first duly sworn, hereby depose and state

as follows under oath:

1. l am a licensed registered nurse and l am licensed to practice nursing in the state
of lvlichigan.
2: l have reviewed the Notice of intent sent in this matter pursuant to MCL 600.2912b,

as well as Benjamin Pelch’s medical records from Eiriarwood Nursing Center, lvici_aren l-iospital and
from Dr. Sahouri.

3. The standard of care applicable in this matter is that of a reasonably prudent
registered nurse_.'

4_ l have advised attorney Scott Feuer that l believe reasonable cause exists for-the
filing of a lawsuit concerning the care and treatment that Benjamin Pelch received from the
Briarwood Nursing Center. -

5.' l\/ly review of the matter indicates that Benjamin Pelch was admitted to East
lviichigan Care Corporation, d/b/a l-leartland Heaith Care Center - Brianivood (hereinafter referred
to as “HHCC”) on i\./lay 5, 20'06, after a hospitalization for a CVA and!or TiA on May ‘l, 2006 l-le
was at extremely high risk forfails given his history of C\/A and/or TlA, a total knee replacement
a total hip replacement as weil as Alzheimer’s Disease.

6. Cin May 10, 2006, lvlr. Pelch was ieft alone and unmonitored in a wheelchair in the
dining room during lunch. As a result he fell out of the wheelchairl striking his face and head. l-le
was non-responsive for at least three minutes before a nurse arrived

7_ Mr_ Pelch was taken to lvlcl_aren l-iospital where he was diagnosed with a right

subdurai hernatomaas well as a nasal fracture After suffering for eieven days_ h`e died on-lviay 21,

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2006, as a result of the subdural hernatoma.

8. Despite the fact that lVlr. Pelch was at an obviously high risk torfall, the nurses and
personnel at HHCC failed to assess lvlr. Pelch’s risk for fall. No assessment was done with respect
to his fall risk from a chair. No minimum data set (MDS) was done prior to his fall. No plan for the

safety of Nir. Pelch Was prepared prior to his fatal fall.

9. 'i'he requirements of the applicable standard of care are as follows:
a. The standard of care required that a full safety assessment be done upon
admission .
b. 'F-he standard of care required an assess ment cf the fall risk po sad-by ivlr.

Pelch at the time of admission

c. `l'he standard of care required that the nursing personnel conduct a safety
assessment and prepare a minimum data set (l\/IDS) upon admission.

d. `l'he standard of care required that the nursing and medical personnel
formulate a plan to care for and to delineate the measures that would be

taken for lvlr. Pelch's safety.

e. l-ll-iCC is vicariously liable for the failure of any agent or employee to act in
accordance with the above requirements to conform With the standard of
care.

10. The standard of care was breached by i-ll-lCC and its employees and agents, in

numerous ways, including the following: `

a. The nursing personnel and/or medical personnel breached the standard of
care when they failed to properly perform a full safety assessment at the
time of iVlr. Pelch"s admission

' 'b. The nursing personnel and!or medical personnel b.reachedt l e standard of
care by failing to perform an assessment of lvlr. Pelch’ s risk for fall at the
time of admission

c. The nursing personnel and/or medical personnel breached the standard of
care by failing to conduct a safety assessment and by failing to prepare a
minimum data set (MDS) on l\/ir. Pelch on admission

d. The nursing personnel and/or medical personnel breached the standard of
care by failing to formulate a plan to care for and to delineate the measures
that would be taken for l\/lr. Pelch’s safety_

 

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i-iHCC breached the standard of care since i-ii-lCC is vicariously liable for

e.
the failure of any agent or employee to act in accordance with the standard
of care.

‘i‘i. in order to comply with the applicable standard of care, Hl-iCC and its agents and

employees should have performed the foilowing.'

a. The nursing personnel/medical personnel caring for lvir. Pelch should have
performed a full safety assessment upon admission

b. The nursing personnel/medical personnel should have assessed ivir. Peich
for his risk of fails upon admission.

c. The nursing personnel/medical personnel should have conducted`a safety
assessment and prepared a minimum'.data set {MDS)~upon adn'i-i-ss-icnl

d. The nursing personnel/medical personnel should have formulated a plan in
order to assess the risk of fails and to care for and delineate the measures
that would be taken to provide for lVir. Pelch’s safety.

e. l-ll-iCC should have ensured that its agents and employees conformed to the
standard of care noted above and is vicariously liable for its agents or
employeesl failure to act in accordance with the standard of care

12_ The proximate result from these numerous breaches of the standard of care noted

above were the following'.

8.

i-iad a full safety assessment been performed on ivir. Pelch upon admission,
a plan of care could have been implemented that would have ensured his
safety and prevented his fall and his resultant damages and death

i-iad the nursing personnel/medical personnel identified ivir. Pelch as a risk
for falls, ii/ir. Pelch Would have been monitored in which case he would not
have suffered the fail and his resultant damages and death_

l-lad the nursing personnel/medical personnel assessed ivir. Peich for risk
of falls and prepared a minimum data set (i\/iDS), it would have been noted
that lvir_ Peich should have been monitored and, if he was monitored he
would not have fallen and he would not have suffered the damages and
death noted "

Had the nursing personnel/medical personnel formulated a plan to assess

- the risks of fails and formulated a safety assessment for ivir. Peich and to

care for and delineate the measures that Would be taken to provide for Mr.
Pelch’s safety, he would not have fallen and sustained damages and death_

 

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e. Had i-li-iCC ensured that its agents and employees conformed `to the
standard of care noted above, lvlr. Pelch would not have fallen and suffered
the injuries and resultant death.

‘i3. This affidavit is prepared and filed in accordance with iviCL 600.29‘12d.

`EQ"‘-"_M‘vl,; l:`¢* ‘sz`-!»qt

SHARON VANFE|PER“ Ni. S., R. N_ C. C R N_

Subscribed and sworn to before me

this 77?" ____day or w zoos.
- /

Notary Pubiic
Wasi'rtenaw County ,., _

ivly Commission -expires: .`7 ” 53 ’ /'3

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